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                           AFFIDAVIT IN SUPPORT OF
                         APPLICATION FOR COMPLAINT

   I, John Oliveira, depose and state as follows:

                      INTRODUCTION AND BACKGROUND

1. I am a Police Officer with the Somerville Police Department and have been so employed

   since 1997. In 2000, I was assigned to the Detective Bureau of the Somerville Police

   Department. In June 2008, I was assigned to the FBI Boston Division’s Violent Crimes

   Task Force ("VCTF"), which comprises law enforcement officers from the FBI,

   Massachusetts State Police (“MSP”), and other local police departments. I have been sworn

   in as a Special Deputy U.S. Marshal. As a member of the VCTF, I am responsible for

   investigating kidnappings, murders, robberies, extortion, and other violent crimes. My

   investigations have included the use of surveillance techniques and the execution of search,

   seizure, and arrest warrants.

2. I make this affidavit in support of an application for a complaint charging JOHN

   SCHURKO, YOB 1965 (“SCHURKO”), with affecting commerce by robbery, in

   violation of 18 U.S.C. § 1951.

                                    SUMMARY OF FACTS

3. On December 12, 2021, at approximately 8:00 p.m., a white male robbed the Harvard

   Market (the “Market”) located at 229 Highland Avenue in Malden, Massachusetts.         The

   Market is a convenience store that purchases some of the items it sells from outside of

   Massachusetts.

4. A report by the Malden Police Department (“Malden PD”) includes, in part, the

   following information. At around 8:11 p.m. officers went to the Market in response to a

   report of an armed robbery. An officer spoke to the victim clerk who said that someone
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   had robbed the store and left. The victim told the police, among other things, that a white

   male who was about 5'10” and was wearing a black jacket and a ski mask entered the

   store. The robber pointed a gun at him and then went behind the counter and asked the

   victim to give him all the money. The victim gave the robber the money in the register

   and the robber asked the victim to open the three wooden boxes where money is also

   kept. The victim opened the boxes and gave the robber that money. The robber then

   asked the victim for the money in the safe and counted to three, telling the victim that if

   he did not open the safe the robber would shoot him. The victim told the robber he did

   not have access to the safe but would give him some money he had in his wallet. The

   victim knelt and begged the robber not to kill him. The robber went back around the

   counter. The victim offered the robber money he had in his wallet but the robber said he

   did not want the victim's money. The robber put the money from the register and wooden

   boxes in his pocket and left the store. The victim estimated that the robber took

   approximately $3,000.

5. A Malden PD officer also watched surveillance video of the robbery. In addition to

   describing the robbery as shown in the video, the officer described in a report what he

   believed the video depicted regarding the robber’s appearance: a male, approximately

   5"10”, who was wearing a blue hat, a black 3/4 zip jacket with a white logo on the chest

   area, black gloves, a black ski mask, blue jeans, and black and white sneakers. The

   officer described the weapon as a black handgun, which the robber took out of his left

   pocket.

6. On Monday, December 13, 2021, at approximately 10:00 a.m., I spoke with the victim.

   The victim told me, in substance and among other things, that he was working behind the
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   cash register when a white male entered the store, immediately brandished a firearm,

   walked behind the counter and ordered him to give him all of his money. The victim

   stated that the robber was not a young person and estimated him to be between 45-55

   years old. The victim told me that the robber was approximately 5’10” to 6’ tall but that

   he couldn’t be sure because he was extremely nervous. The victim also told me, among

   other things, that the robber took the cash the victim gave him and put it in various

   pockets, including a rear pants pocket. The victim assisted me in viewing surveillance

   video of the robbery and provided me with several short clips of the Market’s

   surveillance video. I have seen video of the robber leaving the store with what appears to

   be cash protruding from his left rear pants pocket, and video from the street showing the

   same.

7. At this point, I, along with VCTF members MSP Trooper Michael Haines and Malden

   Detective Robert DiSalvatore, began canvassing the area for additional surveillance

   video. Task Force members were able to retrieve surveillance video from the Mystic

   Valley Regional Charter School located directly across the street from the Market, a

   residential home located on Emerald Street, and a second residential home at the corner

   of Emerald and Richard Streets. (If one turns left after leaving the Market, the first

   street one gets to that intersects with Highland Avenue is Emerald Street. If one turns

   right at that intersection, the first intersection one reaches is Richard Street and Emerald

   Street.) After reviewing surveillance video, investigators were able to identify the

   vehicle the suspect used following the robbery: an older model, white, large SUV, which

   appeared possibly to be a Chevrolet Denali or Cadillac Escalade. A review of

   surveillance video from shortly before the robbery during the time leading up to the
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   robbery showed this vehicle circling the area on multiple occasions. The vehicle then

   parked at the corner of Richard and Emerald Streets until the time of the robbery. The

   robber returned to this vehicle after the robbery and left the area.

8. We were not able to accurately identify the SUV or get a plate number. During the early

   morning and into the afternoon of December 14, 2021, VCTF members conducted

   multiple checks of hotels and motels located in Woburn, Everett, Revere, and Saugus in

   an attempt to locate a vehicle consistent with the SUV that was used in the robbery.

   Information was relayed to other Task Force officers who conducted additional hotel

   checks in the area of Medford, Somerville, Everett, Woburn, Malden, and Saugus. As a

   result of these hotel checks, a white 2005 GMC Yukon bearing MA registration 3FBH19

   (the “Yukon”), was observed in the parking lot of the AC Hilton Hotel, located at 95

   Station Landing in Medford. The vehicle is registered to a woman at an address in

   Billerica, MA.

9. SCHURKO was a suspect in three other robberies that we were investigating. Task

   Force members made contact with hotel management and, among other things, asked

   whether SCHURKO was staying there. Hotel personnel told the investigators that

   SCHURKO had been staying there since December 6, 2021, and was using a credit card

   to pay for his room.

10. The Medford Police Department has access to the exterior surveillance cameras and

   associated surveillance video for Station Landing. Members of the Malden PD checked

   the cameras for December 12, 2021, starting at 7:00 p.m. Video shows that the Yukon

   was backed into the parking spots opposite the side entrance door to the hotel. At

   approximately 7:35 p.m. a white male wearing what appeared to be a black 3/4 zip
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   pullover, a black neck gaiter pulled down around his neck area, blue jeans, black sneakers

   with white soles and out soles, and a white baseball cap walked from the hotel and

   entered the driver’s side of the Yukon. The clothing is consistent with that worn by the

   robber, except that the robber wore a blue bucket hat rather than a baseball cap and was

   wearing gloves. In addition, the robber had a black neck gaiter covering most of his face

   while the neck gaiter on the man who entered the Yukon was pulled down around the

   man’s neck. After the man entered the Yukon it travelled on Station Landing, turning left

   onto Earhart Landing. It then travelled through Wellington Circle onto Middlesex

   Avenue in Medford. Middlesex Avenue in Medford becomes Highland Avenue when it

   crosses into Malden. The Market is located on Highland Avenue in Malden.

11. I have viewed the video of the man entering the Yukon as described above. I am

   familiar with the appearance of SCHURKO and believe this man was SCHURKO.

12. The members of the Malden PD continued to watch the video of the hotel parking lot and

   observed that the Yukon returned to the hotel parking lot at about 8:15 p.m. The white

   male that exited the Yukon appeared to be wearing the same clothing as when he got into

   it earlier: a white baseball cap, blue jeans, a black 3/4zip pullover, and black sneakers

   with white soles and out soles. Because the pullover was zipped up at this point any

   neck gaiter he was wearing is not visible. The two additions are that, like the Market

   robber, he was now wearing black gloves. Also like the robber, the man who got out of

   the car had protruding from his left rear pants pocket an item or items consistent with

   cash. He then walked toward the hotel and entered through the side door. This male can

   then be seen on video walking up the staircase that faces Station Landing, appearing to

   exit the stairwell onto the third floor.
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 Again, I believe the man depicted in the hotel parking lot video is SCHURKO. I am

   familiar with the area in which the Hotel and the Market are located. I know that one

   can drive from the hotel to the Market, or from the Market to the hotel, within

   approximately five minutes during periods of normal traffic. The third floor of the hotel

   is where the room SCHURKO was staying is located.

 Investigators have also viewed surveillance video from inside the hotel. We have seen

   numerous images of SCHURKO inside the hotel.

 In addition, I learned today that an FBI Special Agent, Kristin Koch, happened to have

   met with SCHURKO on an unrelated matter on December 8, 2021. SCHURKO was

   wearing, among other things, blue jeans and a black neck gaiter pulled up over his nose

   when he came out of the hotel. . Special Agent Koch has viewed video of the robber

   and is 95% sure that it is SCHURKO given that the robber appears to be wearing the

   same jeans SCHURKO was wearing on December 8, appears to be wearing the same

   neck gaiter, was walking in a manner consistent with the way Special Agent Koch has

   seen SCHURKO walk, and the portion of the face that was visible above the gaiter

   appears to be the same as the portion of the face Special Agent Kock could see when she

   saw SCHURKO on December 8. Special Agent Koch has also reviewed video of the

   man leaving and returning to the hotel parking lot in the Yukon and is certain that it is

   SCHURKO.

 SCHURKO checked out of the hotel \HVWHUday. We were conducting surveillance. As

   SCHURKO approached the Yukon with a grey duffle bag and a white trash bag, he was

   placed under arrest. We have since executed a search warrant with respect to the Yukon

   and property that was immediately adjacent to the Yukon when we arrested SCHURKO.
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   Among other things, we recovered blue jeans consistent with those worn by the robber in

   Malden, black gloves, a black neck gaiter, and a black Airsoft handgun that appears

   consistent with the weapon shown during the Malden robbery. SCHURKO was also

   wearing sneakers consistent with those worn during the robbery. We did not recover the

   ¾ zip jacket, but that jacket has a unique logo on it, and we recovered a T-shirt with the

   same logo. We believe the logo is that of a union for which SCHURKO’s girlfriend

   works.

17. Based on the foregoing, there is probable cause to believe that SCHURKO robbed the

   Market on December 12, 2021, and thereby affected commerce by robbery, in violation

   of 18 U.S.C. § 1951.
                                                    /s/ John Oliveira
                                                 ______________________________
                                                 John Oliveira
                                                 FBI Task Force Officer

   Attested to by telephone this 16th day of December, 2021.



                                                 _____________________________
                                                 Hon. M. Page Kelley
                                                 Chief U.S. Magistrate Judge
